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Proposed Counsel for Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                    Chapter 11

STEARNS HOLDINGS, LLC, et al.,                           Case No. 19-12226 (___)

750 East Highway, 121 Bypass, Suite 150,                 Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067

                     Debtor.


In re                                                    Chapter 11

STEARNS CO-ISSUER INC.                                   Case No. 19-12230 (___)

750 East Highway, 121 Bypass, Suite 150,                 Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067

                     Debtor.


In re                                                    Chapter 11

STEARNS LENDING, LLC,                                    Case No. 19-12229 (___)

750 East Highway, 121 Bypass, Suite 150,                 Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067

                     Debtor.
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In re                                               Chapter 11

STEARNS VENTURES, LLC,                              Case No. 19-12231 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067

                     Debtor.


In re                                               Chapter 11

PROTOS ACQUISITION LLC,                             Case No. 19-12225 (___)

345 Park Avenue, New York, NY 10154                 Tax I.D. No. XX-XXXXXXX

                     Debtor.


In re                                               Chapter 11

bSNAP, LLC,                                         Case No. 19-12227 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067
                     Debtor.


In re                                               Chapter 11

PRIVATE MORTGAGE ADVISORS, LLC,                     Case No. 19-12228 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067
                     Debtor.




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         MOTION OF DEBTORS FOR ENTRY OF AN ORDER (I) DIRECTING
              JOINT ADMINISTRATION OF CHAPTER 11 CASES
                   AND (II) GRANTING RELATED RELIEF

               Stearns Holdings, LLC and certain of its affiliates, the debtors and debtors in

possession in the above-captioned cases (collectively, the “Debtors”), hereby move (this

“Motion”) the Court for entry of an order, substantially in the form attached hereto as Exhibit A

(the “Proposed Order”), (i) under Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) providing for the joint administration of the Debtors’ separate Chapter

11 Cases (defined below) for procedural purposes only and (ii) granting related relief. In support

of this Motion, the Debtors rely upon and incorporate by reference the Declaration of Stephen

Smith, President and Chief Financial Officer of Stearns Lending, LLC in Support of Chapter 11

Petitions and Various First Day Applications and Motions (the “First Day Declaration”), filed

with the Court concurrently herewith. In further support of this Motion, the Debtors, by and

through their undersigned proposed counsel, respectfully represent as follows:

                                      Jurisdiction & Venue

       1.      This Court has jurisdiction to consider the Motion under 28 U.S.C. §§ 157 and

1334(b), and the Amended Standing Order of Reference M-431 dated January 31, 2012 (Preska,

C.J.). This is a core proceeding under 28 U.S.C. § 157(b).

       2.      Venue of these cases and this Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409.

       3.      The legal predicates for the relief requested herein are section 105(a) of title 11 of

the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule 1015(b).




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                                            Background

        4.     On the date hereof (the “Petition Date”), the Debtors each commenced a case by

filing a petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Debtors have requested that the Chapter 11 Cases be jointly administered.

        5.     The Debtors continue to operate their businesses and manage their properties as

debtors and debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

        6.     No creditors’ committee has been appointed in the Chapter 11 Cases by the Office

of the United States Trustee (the “United States Trustee”). No trustee or examiner has been

appointed in the Chapter 11 Cases.

        7.     Additional factual background information regarding the Debtors, including their

business operations, their corporate and capital structure, and the events leading to the Chapter

11 Cases, is set forth in detail in the First Day Declaration.

                                          Relief Requested

        8.     By this Motion, the Debtors respectfully seek entry of the Proposed Order, under

Bankruptcy Rule 1015(b) jointly administering the Chapter 11 Cases for procedural purposes

only.




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        9.       In furtherance of the foregoing, the Debtors request the official caption to be used

by all parties in all papers in the jointly administered cases be as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                Chapter 11

STEARNS HOLDINGS, LLC, et al.,                                       Case No. 19-12226 (____)

                 Debtors.1                                           (Jointly Administered)


        10.      In addition, the Debtors request that the Court make separate docket entries on the

docket of each of the Chapter 11 Cases (except that of Stearns Holdings, LLC) substantially as

follows:

        An order has been entered in accordance with Rule 1015(b) of the Federal Rules
        of Bankruptcy Procedure directing joint administration for procedural purposes
        only of the chapter 11 cases of: Stearns Holdings, LLC, Case No. 19-12226 (___);
        Stearns Co-Issuer Inc., Case No. 19-12230 (___); Stearns Lending, LLC, Case
        No. 19-12229 (___); Stearns Ventures, LLC, Case No. 19-12231 (___); Protos
        Acquisition LLC, Case No. 19-12225 (___); bSNAP, LLC, Case No. 19-12227
        (___); and Private Mortgage Advisors, LLC, Case No. 19-12228 (___). The
        docket for Stearns Holdings, LLC, Case No. 19-12226 (___), should be consulted
        for all matters affecting these cases.


        11.      The Debtors also seek authority to file their monthly operating reports required by

the Operating Guidelines and Reporting Requirements for Debtors in Possession and Trustees,

issued by the Office of the United States Trustee, by consolidating the information required for




1
    The Debtors and the last four digits of their taxpayer identification numbers are: Stearns Holdings, LLC (8219);
    Stearns Co-Issuer Inc. (7096); Stearns Lending, LLC (1773); Stearns Ventures, LLC (2386); Protos Acquisition
    LLC (4941); bSNAP, LLC (2498); and Private Mortgage Advisors, LLC (7493). The address of Protos
    Acquisition LLC is 345 Park Avenue, New York, NY 10154. The address of the other Debtors is c/o Stearns
    Lending, LLC, 750 East Highway, 121 Bypass, Suite 150, Lewisville, TX 75067.



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each Debtor in one report that tracks and breaks out all of the specific information (e.g., receipts,

disbursements, etc.) on a debtor-by-debtor basis in each monthly operating report.

                                           Basis for Relief

        12.     Bankruptcy Rule 1015(b) provides that if “two or more petitions are pending in

the same court by or against . . . a debtor and an affiliate, the court may order a joint

administration of the estates.” Fed. R. Bankr. P. 1015.

        13.     The Debtors are “affiliates” as defined in Bankruptcy Code section 101(2).

Protos Acquisition LLC owns 69.87% percent of Stearns Holdings, LLC. Stearns Holdings, LLC

wholly owns Stearns Co-Issuer Inc. and Stearns Lending, LLC. Stearns Lending, LLC wholly

owns Stearns Ventures, LLC and bSNAP, LLC. Stearns Ventures, LLC wholly owns Private

Mortgage Advisors, LLC.

        14.     Joint administration will permit use of a single docket and remove redundant

notices to parties in interest. Indeed, the Debtors anticipate that almost all of the filings in these

cases will relate to all of the Debtors. It will also simplify procedures, lead to uniformity in case

captions, and remove redundant filings in multiple dockets. Joint administration will help the

United States Trustee and all parties in interest by removing the need to monitor or file notices of

appearance in multiple cases. Also, joint administration will be for procedural purposes only and

therefore not adversely affect any party in interest.

        15.     Accordingly, for the foregoing reasons, and as supported by the First Day

Declaration, joint administration is warranted to save time and money, increase efficiency,

reduce confusion, and ease administrative burdens for the Court and for all parties.

        16.     Courts in this district routinely approve this relief. See, e.g., In re Cenveo, Inc.,

No. 18-22178 (RDD) (Bankr. S.D.N.Y. Mar. 8, 2018); In re Glob. A&T Elecs. Ltd., No. 17-

23931 (RDD) (Bankr. S.D.N.Y. Feb. 5, 2018); In re 21st Century Oncology Holdings, Inc., No.


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17-22770 (RDD) (Bankr. S.D.N.Y. May 26, 2017); In re BCBG Max Azria Glob. Holdings, LLC,

No. 17-10466 (SCC) (Bankr. S.D.N.Y. Mar. 2, 2017); In re Avaya Inc., No. 17-10089 (SMB)

(Bankr. S.D.N.Y. Jan. 20, 2017).2

        17.      The Debtors also seek authority to file their monthly operating reports required by

the Operating Guidelines and Reporting Requirements for Debtors in Possession and Trustees,

issued by the Office of the United States Trustee, by consolidating the information required for

each Debtor in one report that tracks and breaks out all of the specific information (e.g. receipts,

disbursements, etc.) on a debtor-by-debtor basis in each monthly operating report. The Debtors

submit that consolidating such information would further administrative economy and efficiency

in these Chapter 11 Cases without prejudice to any party in interest, as the monthly operating

reports would accurately reflect the Debtors’ business operations and financial affairs. The

Debtors request that the requirement to file monthly operating reports terminate upon entry of an

order confirming a plan in these Chapter 11 Cases (the date on which such order is entered, the

“Confirmation Date”), such that the Debtors will not be required to file any monthly operating

reports that become due after the Confirmation Date, including any monthly operating reports

covering a period occurring before the Confirmation Date.

        18.      Courts in this district have granted similar relief in other chapter 11 cases. See,

e.g., In re Synergy Pharmaceuticals, Inc., Case No. 18-14010 (JLG) (Bankr. S.D.N.Y. Dec. 14,

2018); In re Sears Holding Corp., Case No. 18-23538 (RDD) (Bankr. S.D.N.Y. Oct. 16, 2018);

In re Avaya Inc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Jan. 20, 2017); In re Atlas Res.




2
    Because of the voluminous nature of the order cited herein, they are not attached to this Motion, but are
    available on request.



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Partners, L.P., Case No. 16-12149 (SHL) (Bankr. S.D.N.Y. Aug. 1, 2016); In re SunEdison, Inc.,

Case No. 16-10992 (SMB) (Bankr. S.D.N.Y. Apr. 25, 2016).3

                                                      Notice

        19.      Notice of this Motion shall be given to (a) the United States Trustee, (b) the

Debtors’ 30 largest unsecured creditors, (c) the Debtors’ five largest secured creditors, (d)

counsel to the indenture trustee for the Debtors’ senior secured notes, (e) counsel to Pacific

Investment Management Company LLC, Hogan Lovells US LLP, 1999 Avenue of the Stars,

Suite 1400, Los Angeles, CA 90067 (Attn: Bennett L. Spiegel and Stacey Rosenberg), (f)

counsel to Blackstone Capital Partners VI-NQ/NF L.P., Simpson Thacher & Bartlett LLP, 425

Lexington Avenue, New York, NY 10017 (Attn: Elisha Graff and Jamie Fell), (g) counsel to

Barclays Bank PLC, Hunton Andrews Kurth LLP, 200 Park Avenue, New York, NY 10166

(Attn: Peter S. Partee, Sr., Brian Clarke), (h) co-counsel to Nomura Corporate Funding Americas

LLC, Milbank LLP, 55 Hudson Yards, New York, NY 10001 (Attn: Mark Shinderman and

Lauren C. Doyle) and Alston & Bird LLP, 90 Park Avenue, New York, NY 10016 (Attn: Karen

Gelernt), (i) counsel to Fannie Mae, O’Melveny & Myers LLP, 400 South Hope Street, Los

Angeles, CA 90071 (Attn: Stephen H. Warren), (j) counsel to Freddie Mac, McKool Smith, P.C.,

600 Travis Street, Suite 7000, Houston, TX 77002 (Attn: Paul D. Moak), and One Bryant Park,

47th Floor, New York, NY 10036 (Attn: Kyle A. Lonergan), (k) counsel to Ginnie Mae, 451 7th

Street SW, Room 9250, Washington, DC 20410 (Attn: Lisa Mulrain and Lynne Chandler) and

Director, Monitoring & Asset Management to Ginnie Mae, 425 3rd Street SW, Suite 500,

Washington, DC 20024 (Attn: Rene Mondonedo) and (l) all parties required by Rule 9013-1(b)



3
    Because of the voluminous nature of the orders cited herein, they are not attached to this Motion, but are
    available on request.



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of the Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court

for the Southern District of New York (the “Local Bankruptcy Rules”). The Debtors submit that

no other or further notice is required.

                                          No Prior Request

         20.    No prior request for the relief sought herein has been made to this or any other

court.




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                                            Conclusion

         WHEREFORE, the Debtors respectfully request that this Court enter an order,

substantially in the form attached, granting the relief sought and such other relief as may be just

and proper.


Dated:    New York, New York
          July 9, 2019

                                      SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                      /s/ Jay M. Goffman
                                      Jay M. Goffman
                                      Mark A. McDermott
                                      Shana A. Elberg
                                      Evan A. Hill
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                                      4 Times Square
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                                      Proposed Counsel for Debtors and Debtors in Possession




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                                     EXHIBIT A

                                    Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                               Chapter 11

STEARNS HOLDINGS, LLC, et al.,                      Case No. 19-12226 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067


                     Debtor.


In re                                               Chapter 11

STEARNS CO-ISSUER INC.                              Case No. 19-12230 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067


                     Debtor.


In re                                               Chapter 11

STEARNS LENDING, LLC,                               Case No. 19-12229 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067


                     Debtor.


In re                                               Chapter 11

STEARNS VENTURES, LLC,                              Case No. 19-12231 (___)

750 East Highway, 121 Bypass, Suite 150,            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067

                     Debtor.
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In re                                                               Chapter 11

PROTOS ACQUISITION LLC,                                             Case No. 19-12225 (___)

345 Park Avenue, New York, NY 10154                                 Tax I.D. No. XX-XXXXXXX

                          Debtor.


In re                                                               Chapter 11

bSNAP, LLC,                                                         Case No. 19-12227 (___)

750 East Highway, 121 Bypass, Suite 150,                            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067
                     Debtor.


In re                                                               Chapter 11

PRIVATE MORTGAGE ADVISORS, LLC,                                     Case No. 19-12228 (___)

750 East Highway, 121 Bypass, Suite 150,                            Tax I.D. No. XX-XXXXXXX
Lewisville, TX 75067
                     Debtor.



     ORDER (I) DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
                    AND (II) GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”)1 of the Debtors for an order (i) directing joint

administration of their Chapter 11 Cases for procedural purposes only and (ii) granting related

relief, all as more fully set forth in the Motion; and upon consideration of the First Day

Declaration; due and sufficient notice of the Motion having been given under the circumstances;

it appearing that the relief requested is in the best interests of the Debtors, their estates, and all



1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



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parties in interest; after due deliberation; and good and sufficient cause appearing therefor; it is

hereby,

                 ORDERED, ADJUDGED, AND DECREED that:

          1.     The Motion is GRANTED as set forth herein.

          2.     The above-captioned Chapter 11 Cases will be jointly administered under Stearns

Holdings, LLC, Case No. 19-12226 (___).

          3.     The jointly administered cases shall use the following caption:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                Chapter 11

STEARNS HOLDINGS, LLC, et al.,                                       Case No. 19-12226 (____)

                 Debtors.1                                           (Jointly Administered)


          4.     The above caption shall be deemed to satisfy the captioning requirements of

Bankruptcy Code section 342(c)(1) and Bankruptcy Rule 2002(n).




1
    The Debtors and the last four digits of their taxpayer identification numbers are: Stearns Holdings, LLC (8219);
    Stearns Co-Issuer Inc. (7096); Stearns Lending, LLC (1773); Stearns Ventures, LLC (2386); Protos Acquisition
    LLC (4941); bSNAP, LLC (2498); and Private Mortgage Advisors, LLC (7493). The address of Protos
    Acquisition LLC is 345 Park Avenue, New York, NY 10154. The address of the other Debtors is c/o Stearns
    Lending, LLC, 750 East Highway, 121 Bypass, Suite 150, Lewisville, TX 75067.



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       5.      A docket entry shall be made in each of the Chapter 11 Cases (except that of

Stearns Holdings, LLC) substantially as follows:

       An order has been entered in accordance with Rule 1015(b) of the Federal Rules
       of Bankruptcy Procedure directing joint administration for procedural purposes
       only of the chapter 11 cases of: Stearns Holdings, LLC, Case No. 19-12226 (___);
       Stearns Co-Issuer Inc., Case No. 19-12230 (___); Stearns Lending, LLC, Case
       No. 19-12229 (___); Stearns Ventures, LLC, Case No. 19-12231 (___), Protos
       Acquisition LLC, Case No. 19-12225 (___); bSNAP, LLC, Case No. 19-12227
       (___); and Private Mortgage Advisors, LLC, Case No. 19-12228 (___). The
       docket for Stearns Holdings, LLC, Case No. 19-12226 (___), should be consulted
       for all matters affecting these cases.

       6.      One consolidated docket, one file, and one consolidated service list shall be

maintained by the Debtors and kept by the Clerk of the Court with the assistance of the notice

and claims agent retained by the Debtors in these chapter 11 cases.

       7.      The Debtors may file their monthly operating reports required by the Operating

Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued by the

United States Trustee, by consolidating the information required for each Debtor in one report

that tracks and breaks out all of the specific information (e.g., receipts, disbursements, etc.) on a

debtor-by-debtor basis in each monthly operating report.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       9.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective and

enforceable immediately upon entry hereof.

       10.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.




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       11.     This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.



Dated: New York, New York
                              , 2019
                                                 ____________________________________
                                                 UNITED STATES BANKRUPTCY JUDGE




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